Case 2:18-cv-02138-PSG-AS Document1 Filed 03/14/18 Page1of13 Page ID #:1

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JAMES R. TRAUT
BAR #84839

ERIC V. TRAUT
BAR #146644

TRAUT FIRM

GRIFFIN TOWERS SUITE 700
5 HUTTON CENTRE DRIVE
SANTA ANA, CA 92707

(714) 835-7000

FAX (714) 957-5759

Attorneys for Plaintiff
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
ROMULO RAY RUFO, TRINA RUFO, Case No.
individuals;
COMPLAINT
Plaintiffs,

Vv.

UNITED STATES OF AMERICA, UNITED
STATES DEPARTMENT OF JUSTICE,
government entities; JAMES ALBERT SMITH
and DOES 1 through 10,

 

Defendants.

 

JURISDICTION AND VENUE

1. This court has original jurisdiction pursuant to 28 U.S.C. § 1346(b).

2. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because the
defendant, UNITED STATES OF AMERICA, owns and operates the UNITED STATES
DEPARTMENT OF JUSTICE which employed defendant JAMES ALBERT SMITH in this
district. Additionally, the collision involving a DEPARTMENT OF JUSTICE vehicle and

employee giving rise to the claim took place in this district.

 

COMPLAINT

 
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3. On or about August 7, 2017, Plaintiffs caused to be presented claims for injury
and loss of consortium under the Federal Tort Claims Act to the United States, which was duly
received and acknowledged by the Department of Justice, Office of the Torts Claims
Administrator. These claims were accepted by defendants, but never denied to date. More than
6 months have passed since the presentation of the claims.

PARTIES

4, Plaintiffs ROMULO RAY RUFO and TRINA RUFO (“Plaintiffs”) were and are
husband and wife at all relevant time individuals residing in Long Beach, California.

3. Plaintiffs do not know the true names or capacities of the Defendants sued herein
under the fictitious names DOES 1 through 10, inclusive. Plaintiffs are informed and believe,
and allege thereon, that each of those defendants were legally responsible for the occurrences
alleged in this complaint and for Plaintiffs’ damages.

6. Defendant UNITED STATES OF AMERICA is a governmental entity, who
owns and operates the UNITED STATES DEPARTMENT OF JUSTICE which does business in
the state of California.

7, Defendant JAMES ALBERT SMITH was an employee of the UNITED STATES
DEPARTMENT OF JUSTICE and in the course and scope of his employment at the time of the
collision.

GENERAL ALLEGATIONS

8. On March 16, 2016, at approximately 7:45 a.m., Plaintiff, ROMULO RAY RUFO,
was driving his vehicle on the 710 freeway near Firestone Blvd. in the city of South Gate,
County of Los Angeles, State of California. At this time, JAMES ALBERT SMITH (“Smith”),
who was driving a United States Department of Justice vehicle (“Vehicle”), was approaching the
rear of the Rufo vehicle and an unsafe speed and failed to observe and react to the stopped traffic
ahead of him. The Smith vehicle slammed into the rear of the Rufo vehicle with explosive force.

The Rufo vehicle was propelled into a third vehicle. As a result of the collision, ROMULO

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COMPLAINT

 

 
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RAY RUFO sustained injuries, including a life-altering traumatic brain injury. His wife,
plaintiff TRINA RUFO has since suffered loss of consortium damages.

9. At the time of the collision, Plaintiffs are informed and believe, and on that basis
allege, that Smith was driving a vehicle owned by the UNITED STATES DEPARTMENT OF
JUSTICE, and that he was then acting in the course and scope of his employment for the
UNITED STATES.

10. Plaintiffs have complied with the provisions of 28 U.S.C. § 2401 by presenting
written claims with defendants UNITED STATES OF AMERICA and UNITED STATES
DEPARTMENT OF JUSTICE within two years after the accrual of such claim. True and correct

copies of these written claims are attached hereto as Exhibit A.

FIRST CAUSE OF ACTION
(Negligence)

11. Plaintiffs re-allege and incorporate by reference the allegations set forth above in
paragraphs 1 through 10, inclusive, as though set forth in full.

12. Defendants, and each of them, including DOES 1 through 10 inclusive, failed to
usc ordinary and reasonable care to prevent harm to Plaintiff, and were thereby negligent in the
acts and omissions set forth herein.

13. Asadirect and proximate result of the above-described conduct of said
Defendants, and each of them, including DOES 1 through 10 inclusive, Plaintiff, ROMULO
RAY RUFO was injured and sustained physical injury and resulting economic and non-
economic damages in an amount subject to proof. His wife, Plaintiff TRINA RUFO has suffered
loss of consortium damages, including love, companionship, comfort, care, assistance,

protection, affection, society, moral support, and loss of sexual relations.

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COMPLAINT

 

 
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PRAYER FOR RELIEF
Plaintiffs pray for judgment against defendants, and each of them, as follows:

14. For general damages according to proof;

15. For loss of consortium damages according to proof;

16. For economic damages, according to proof;

17. For costs of suit incurred herein;

18. For such other and further relief as this court may deem just and proper.

DATED: March 14, 2018

   

 

ERIC TRAUT, ESQ ~ 7 \
Attorney for Plaintiffs

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COMPLAINT

 
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EXHIBIT A
 

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CLAIM FOR DAMAGE, INSTRUCTIONS: Piease read carefully the instructions on the FORM APPROVED

reverse side and supply information requested on both sides of this OMB NO. 1105-0008
INJ URY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions.

 

 

 

 

1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimant's personal representative if any.
(See instructions on reverse). Number, Street, City, State and Zip code.
U.S. Department of Justice Claimant: Trina Rufo
255 E. Temple Street, 17th Floor Attorney: Eric V. Traut, Esq. - TRAUT FIRM
Los Angeles, CA 90012 5 Hutton Centre Drive, Suite 700
Santa Ana, CA 92707
3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
[_]miuitary [xX] civiian |08/25/1965 Married 03/16/2016 07:45 a.m.

 

 

 

 

 

8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereof. Use additional pages if necessary).

U.S. Department of Justice employee, James Albert Smith, drove at an unsafe speed and impacted the rear of the vehicle
driven by Romulo Ray Rufo. As a result of the explosive impact, Mr. Rufo was seriously injured, and Mr. Rufo's wife, Trina Rufo,
has suffered significant loss of consortium.

 

9. PROPERTY DAMAGE

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

 

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

The 2006 Volkswagen Passat was a total loss.

 

10. PERSONAL INJURY/WRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT

See attachment.

 

 

 

 

 

 

41. WITNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)
Alejandro Becerril 18702 Ambler Ave., Carson, CA 90746
12. (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a, PROPERTY DAMAGE 12b. PERSONAL INJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause
forfeiture of your rights).
2,000,000 2,000,000

 

 

 

 

{ CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND-PINAL S MENT OF THIS CLAIM.

  
   

 

 
 
 
 

 
  
 

 

 

 

 

 

 

13a, SIGNAT! ocr CLAIMANT ISHS! : ¢ ns on reverse pide). 13b. PHONE NUMBER OF PERSON SIGNING FORM |14. DATE OF SIGNATURE
714-835-7000 (7/2017
CIVIL PENALTY FOR PRESENTING “S CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Government for a civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).
Authorized for Local Reproduction NSN 7540-00-634-4046 STANDARD FORM 95 (REV. 2/2007)
Previous Edition is not Usable PRESCRIBED BY DEPT. OF JUSTICE
28 CFR 14.2

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INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 

15. Do you carry accident insurance? Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. EL] No

Mercury Insurance Group
PO Box 10730
Santa Ana, CA 92711 Claim No.: CAPA-00200305 888-263-7287 ext. 28555

 

16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible? Yes [ ] No | 17. If deductible, state amount.

 

Vehicle was paid by Mercury.

18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).

 

 

19, Do you carry public liability and property damage insurance? [ ] Yes |f yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code), C] No

 

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency” whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT,
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within The amount claimed should be substantiated by competent evidence as follows:

two years from the date the claim accrued may render your claim invalid. A claim

is deemed presented when it is received by the appropriate agency, not when it is (a) In support of the claim for personal injury or death, the claimant should submit a
mailed. written report by the attending physician, showing the nature and extent of the injury, the

nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the period of hospitalization, or incapacitation, attaching itemized bills for madical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse | hospital, or burial expenses actually incurred.

side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14 ;
Many agencies have published supplementing regulations. If more than one agency is (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency. repaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, if payment has been made, the itemized signed
receipts evidencing payment.

The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express

authority to act for the claimant. A claim presented by an agent or legal representative (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be cost of the property, the date of purchase, and the value of the property, both before and

accompanied by evidence of his/her authority to present a claim on behalf of the claimant | after the accident. Such statements should be by disinterested competent persons,

as agent, executor, administrator, parent, guardian or other representative. preferably reputable dealers or officials familiar with the type of property damaged, or by

two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for

 

 

each must be shown in item number 12 of this form. (d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.
PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C.'552a(e)(3), and B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached. C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
A. Authority: The requested information is solicited pursuant to one or more of the submitting this form for this information,
following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R. | D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
Part 14. requested information or to execute the form may render your claim "invalid."

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

 

 

 

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Case 2:18-cv-02138-PSG-AS Document1 Filed 03/14/18 Page 8of13 Page ID #:8

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10.
Romulo Ray Rufo has suffered traumatic brain injury that has resulted in symptoms

that have precluded him from working or driving. He is under the care of a neuropsychologist,
among others, who is treating him for the symptoms of dizziness, word finding issues, nausea,
and balance problems. He also sustained a large disc herniation in his neck that has caused
ongoing symptoms.

As aresult, Mr. Rufo’s wife, Trina Rufo, has also suffered significant loss of

consortium.

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ATTACHMENT TO FORM 95
Case 2:18-cv-02138-PSG-AS Document1 Filed 03/14/18 Page 9of13 Page ID #:9
TAI N

Plaintiffs: Ray Rufo and Trina Rufo

Date/Nature of Incident: _Federal Tort Claim Arising from March 16, 2016 Collision

Plaintiffs, Ray and Trina Rufo hereby employ Eric V. Traut, A Professional Law Corporation,
to prosecute all appropriate claims against the proper parties responsible for damages resulting
from personal injuries and/or losses, and the Joss of consortium claim of Trina Rufo, sustained
on or about the date of this incident. In consideration for the legal services to be rendered and
costs to be advanced by the firm in prosecution of said claims, plaintiffs promise to pay and
assigns to the firm a lien for the amount of the advanced costs and for a fee of 20% of the total
amount recovered if resolved at the administrative level of the Federal Tort Claim and 25%
if it does not. This statutory fee requirements are set forth in 28 U.S.C. Section 2678. This
retainer does not include the cost appellate representation, should it become necessary.

In computing the amount of the fee lien, the applicable percentage shall be applied to the
amount of the total recovery prior to deduction of advanced costs. Court fees, investigators,
experts and any other expense that the firm considers necessary to properly prosecute said
claims shall be subject to said lien for advanced costs. Unless subject to Business and
Professions Code Section 6146 (medical malpractice), the lien percentage 1s not set by law and
is negotiable prior to execution of this retainer agreement. This office does possess liability
insurance,

NO FEE IS PAYABLE TO THIS OFFICE IF THERE IS NO RECOVERY.

Settlement shall be binding only with plaintiffs’ consent. The firm is authorized to execute drafts and
releases on behalf of plaintiff (s) and to associate other counsel at the firm’s expense. You hereby
agree that a referral fee may be paid to the referring attorney, ifany. This fee will come directly out
of the attorney fee paid to Eric V. Traut, a Professional Law Corporation. Costs advanced are at the
discretion of this office and are reimbursable at the close of the case. Plaintiff may be responsible for
costs during the pendency of the case, but will be advised before said costs are incurred. Shoulda
claim concerning professional liability arise between the parties hereto, it will be submitted for final
resolution to binding arbitration with Judicate West. Plaintiff(s) have the right to seek advice from

independent counsel prior to signing this agreement.

This agreement shall not be binding unless endorsed by both parties or their legal
representatives.

|
Executed on July 26, 2017 at Dna Beach _<ali

x Lar ox < _
Plaintfff, RAY RUFO ‘Eric V.Traut,Esqa.  “™~——

x Lin MpUn~

Plaintiff, TRINA RUYQ/

    

 
 

 

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CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions on the FORM APPROVED
reverse side and supply information requested on both sides of this OMB NO. 1105-0008
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions.
1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimant's personal representative if any.
(See instructions on reverse). Number, Street, City, State and Zip code.
U.S. Department of Justice Claimant: Romulo Ray Rufo
255 E. Temple Street, 17th Floor Attorney: Eric V. Traut, Esq. - TRAUT FIRM
Los Angeles, CA 90012 5 Hutton Centre Drive, Suite 700
Santa Ana, CA 92707
3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5, MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
LJ MILITARY CIVILIAN |08/12/1964 Married 03/16/2016 07:45 a.m.

 

 

 

 

 

8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereof. Use additional pages if necessary).

U.S. Department of Justice employee, James Albert Smith, drove at an unsafe speed and impacted the rear of the vehicle
driven by Romulo Ray Rufo. As a result of the explosive impact, Mr. Rufo was seriously injured.

 

9. PROPERTY DAMAGE

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

 

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

The 2006 Volkswagen Passat was a total loss.

 

10, PERSONAL INJURY/AWRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT,

See attachment.

 

 

 

 

 

 

11. WITNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)
Alejandro Becerril 18702 Ambler Ave., Carson, CA 90746
12. (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a. PROPERTY DAMAGE 12b. PERSONAL INJURY 12c. WRONGFUL DEATH 42d. TOTAL (Failure to specify may cause
forfeiture of your rights).
15,000,000 15,000,000

 

 

 

 

| CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN

FULL SATIOFAC TIDE RRL SETISENENT OF THIS CLAIM.

 

   

 

 

13a. SIG| instructions on reverse side). 13b. PHONE NUMBER OF PERSON SIGNING FORM |14. DATE OF SIGNATURE
<7 714-835-7000 $(71 LolT
CIVIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Government for a civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government, (See 31 U.S.C. 37289).

 

 

 

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95-109 28 CFR 14.2

 
Case 2:18-cv-021338.PSG A

 

INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property,

 

15. Do you carry accident Insurance? Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. C] No

Mercury Insurance Group
PO Box 10730

Santa Ana, CA 92711 Claim No.: CAPA-00200305

888-263-7287 ext. 28555

 

16. Have you filed a claim with your insurance carrier in this instance, and if 50, is it full coverage or deductible?

Vehicle was paid by Mercury.

17. \f deductible, state amount.

Yes [| No

 

 

18. Ifa claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).

 

19. Do you carry public liability and property damage insurance? [| Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code). [| No

 

 

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate

claim form.

Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is
mailed.

{f instruction is needed in completing this form, the agency listed in item #1 on the reverse
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is
involved, please state each agency,

The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative
must be presented in the name of the claimant. {f the claim is signed by the agent or
legal representative, it must show the title or legal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant
as agent, executor, administrator, parent, guardian or other representative.

if claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT,
THE CLAIM MUST SE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) In support of the claim for personal injury or death, the claimant should submit a
written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
hospital, or burial expenses actually incurred.

(b) In support of claims for damage to property, which has been or can be economically
repaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, if payment has been made, the itemized signed
receipts evidencing payment.

(c) In support of claims for damage to property which is not economically repairable, or if
the property is lost or destroyed, the claimant should submit statements as to the original
cost of the property, the date of purchase, and the value of the property, both before and
after the accident. Such statements should be by disinterested competent persons,
preferably reputable dealers or officials familiar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being just and correct.

(d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.

 

PRIVACY ACT NOTICE

This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and
concerns the information requested in the letter to which this Notice is attached.
A. Authority: The requested information is solicited pursuant to one or more of the
following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 26 C.F.R.
Part 14.

 

B. Principal Purpose: The information requested is to be used in evaluating claims.

C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information.

D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
requested information or to execute the form may render your claim "invalid."

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S, Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed

form(s) to these addresses.

 

STANDARD FORM 95 REV. (2/2007) BACK

 
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10.
Plaintiff has suffered traumatic brain injury that has resulted in symptoms that have

precluded him from working or driving. He is under the care of a neuropsychologist, among
others, who is treating him for the symptoms of dizziness, word finding issues, nausea, and
balance problems. He also sustained a large disc herniation in his neck that has caused ongoing
symptoms. Medical bills, records, and reports are attached hereto. A life care plan, vocational
rehabilitation expert evaluation report, and an economist report detailing future care and lost
earning capacity are forthcoming, but will undoubtedly be several millions dollars.

Mr. Rufo’s wife, Trina Rufo, has also suffered significant loss of consortium, and will

be submitting a claim for her damages in the amount of $2,000,000.00.

vis
ATTACHMENT TQ FORM 95
Case 2:18-cv-02138-PSG-AS Document1 Filed 03/14/18 Page 13 0f13 Page ID #:13
RET R MEN

Plaintiffs: Ray Rufo and Trina Rufo

Date/Nature of Incident: _Federal Tort Claim Arising from March 16, 2016 Collision

Plaintiffs, Ray and Trina Rufo hereby employ Eric V. Traut, A Professional Law Corporation,
to prosecute all appropriate claims against the proper parties responsible for damages resulting
from personal injuries and/or losses, and the loss of consortium claim of Trina Rufo, sustained
on or about the date of this incident. In consideration for the legal services to be rendered and
costs to be advanced by the firm in prosecution of said claims, plaintiffs promise to pay and
assigns to the firm a lien for the amount of the advanced costs and for a fee of 20% of the total
amount recovered if resolved at the administrative level of the Federal Tort Claim and 25%
if it does not. This statutory fee requirements are set forth in 28 U.S.C. Section 2678. This
retainer does not include the cost appellate representation, should it become necessary.

In computing the amount of the fee lien, the applicable percentage shall be applied to the
amount of the total recovery prior to deduction of advanced costs. Court fees, investigators,
experts and any other expense that the firm considers necessary to properly prosecute said
claims shall be subject to said lien for advanced costs. Unless subject to Business and
Professions Code Section 6146 (medical malpractice), the lien percentage is not set by law and
is negotiable prior to execution of this retainer agreement. This office does possess liability
insurance.

NO FEE IS PAYABLE TO THIS OFFICE IF THERE IS NO RECOVERY.

Settlement shall be binding only with plaintiffs’ consent. The firm is authorized to execute drafts and
releases on behalf of plaintiff (s) and to associate other counsel at the firm’s expense. You hereby
agree that a referral fee may be paid to the referring attorney, ifany. This fee will come directly out
of the attomey fee paid to Eric V. Traut, a Professional Law Corporation. Costs advanced are at the
discretion of this office and are reimbursable at the close of the case. Plaintiff may be responsible for
costs during the pendency of the case, but will be advised before said costs are incurred. Should a
claim concerning professional liability arise between the parties hereto, it will be submitted for final
resolution to binding arbitration with Judicate West. Plaintiff(s) have the right to seek advice from
independent counsel prior to signing this agreement.

This agreement shall not be binding unless endorsed by both parties or their legal
representatives.

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Executed on July 26, 2017 at pny acl _alifomia.

x ~~ GAH

Plaintfff, RAY RUFO ric V. Traut, Esq.

x Bins MWJugy~

Plaintiff, TRINA RUKO/
